     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 1 of 10 Page ID #:1448



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10
                         IN THE UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
     UNITED STATES OF AMERICA,                 Case No. 2:21-cr-00941-SB
14                                             Hon. Stanley Blumenfeld, Jr.
           Plaintiff,
15
                                               JOINT MOTION IN LIMINE NO. 6
16   v.
17   JEFFREY FORTENBERRY,                      HON. JEFFREY FORTENBERRY’S
                                               MOTION TO EXCLUDE EVIDENCE
18                                             OF IRRELEVANT TEXTS, PHONE
           Defendant.
19                                             CALLS, AND EMAILS [Fed. R. Evid.
                                               401–404, 801–802, 901, 1001–1004]
20
21                                             Hearing Date: February 8, 2022
                                               Hearing Time: 8:00 a.m.
22
23                                             Indictment: Oct. 19, 2021
                                               Pretrial Conference: Feb. 8, 2022
24                                             Trial: Feb. 15, 2022
25                                             Last Day: March 2, 2022

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                    HON. JEFFREY FORTENBERRY’S MOTION IN LIMINE NO. 6
              TO EXCLUDE EVIDENCE OF IRRELEVANT AND UNFAIRLY PREJUDICIAL
                             TEXTS, PHONE CALLS, AND EMAILS
     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 2 of 10 Page ID #:1449



 1 TO BE EXCLUDED: Evidence of irrelevant text messages, emails and phone calls.
 2
 3       REP. FORTENBERRY’S CONTENTIONS IN SUPPORT OF THE MOTION
 4         The government has declined to provide notice of the specific evidence it intends to
 5 offer at trial, but it has indicated that it does intend to present some text messages, phone calls
 6 and emails, including some that do not include Congressman Fortenberry, to establish the
 7 relationship between Fortenberry and the other parties on the communications. These
 8 communications are irrelevant, substantially more prejudicial than probative, and hearsay.
 9      1. Further description of evidence to be excluded by this motion.
10         In discovery, the government has disclosed reports and evidence related to voluminous
11 email and text-message communications, including communications involving Congressman
12 Fortenberry, Toufic Baaklini, Andrew Doran, and others dating from early 2017. These
13 messages include an apparent text message from Doran to Baaklini on January 10, 2017,
14 asking, “Were you able to talk to Mark about EP and Fort miscommunication?” and the
15 apparent March 28, 2017, text messages below, summarized as follows by the government:
16
17      Sender       Recipient                                 Message
18    Fortenberry Baaklini        We need to see you quickly. Please call and come over.
19    Baaklini      Fortenberry My attorney believes it could be productive for all of us to get
                                together including any attorney who represents your interests.
20                              His name is [name redacted], at [name of law firm redacted], and
21                              his phone number is [phone number redacted].
22    Doran         Baaklini      My friend, is everything ok?
23    Doran         Baaklini      I think you may have phoned Fort by mistake.

24    Baaklini      Doran         Oh no thanks. I will call you after 5pm.

25         Similarly, according to an FBI report in discovery, in February 2017, the FBI
26 interviewed Baaklini regarding a scheme of conduit campaign contributions. See, e.g., Bates-
27 stamped discovery page JF00002485, which is part of Exhibit B to Fortenberry’s Motion to
28 Suppress Statements (Dkt. 35-002). The FBI report says that “[a]ccording to Pen Register Data
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                    HON. JEFFREY FORTENBERRY’S MOTION IN LIMINE NO. 6
              TO EXCLUDE EVIDENCE OF IRRELEVANT AND UNFAIRLY PREJUDICIAL
                             TEXTS, PHONE CALLS, AND EMAILS
     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 3 of 10 Page ID #:1450



 1 and toll records, after this interview, there were numerous calls and text messages between
 2 Baaklini, Fortenberry, Drew Bowling . . . , Fortenberry’s staffer, and Fortenberry’s campaign
 3 consultant Alexandra Kendrick . . . . The content of these communications is unknown.” Id.
 4      2. Legal bases for exclusion: Fed. R. Evid. 401–404, 801–802, 901, 1001–1004.
 5          These communications and others related to them have unclear relevance to the charges
 6 of the Indictment, invite prejudicial speculation by jurors, and are not properly noticed as
 7 404(b) evidence.      The authenticity of those communications has not been established.
 8 Moreover, many of those communications are hearsay. The foregoing evidence also implicates
 9 substantial dangers under Federal Rule of Evidence 403 that would outweigh any probative
10 value for a permissible purpose. Those dangers include the unfair prejudice of misleading the
11 jury to speculate on whether improper communications took place having to do with
12 Congressman Fortenberry. This evidence also confuses the issues, since the messages have no
13 clear relationship to the offense charged. This evidence wastes time by inviting a mini-trial
14 over the meaning of ambiguous communications from an unclear context. The authenticity of
15 the apparent text messages and emails is also unclear. See Fed. R. Evid. 901, 1001–1004.
16          Congressman Fortenberry respectfully requests that the Court exclude all statements like
17 the ones described above unless the government (1) identifies each statement it wishes to
18 introduce, (2) establishes its authenticity, (3) articulates its relevance, and how that relevance
19 is not outweighed by the danger of unfair prejudice, and (4) establishes that the statement is
20 not hearsay, or that it is admissible because of an exception to the hearsay rule.
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                    HON. JEFFREY FORTENBERRY’S MOTION IN LIMINE NO. 6
              TO EXCLUDE EVIDENCE OF IRRELEVANT AND UNFAIRLY PREJUDICIAL
                             TEXTS, PHONE CALLS, AND EMAILS
     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 4 of 10 Page ID #:1451



1                               GOVERNMENT’S OPPOSITION
2    I.    INTRODUCTION
3          Defendant’s motion states the obvious: in order to admit text messages, emails,
4    and other records as evidence at trial, the government will need to establish that each
5    item is relevant, authentic, and is either not hearsay or falls within one or more
6    exceptions to the hearsay rule. (See Mot. at 2.) Yet in advance of trial, or even before
7    the time required for the government to furnish an exhibit list, defendant – without
8    identifying any purportedly problematic text message, email, or other record the
9    government proposes to admit at trial beyond two communications and an FBI report –
10   asks the Court for a blanket order excluding all this evidence on the grounds it is
11   “irrelevant, substantially more prejudicial than probative, and hearsay.” (See id. at 1);
12   cf. Stonefire Grill, Inc. v. FGF Brands, Inc., 987 F. Supp. 2d 1023, 1033 (C.D. Cal.
13   2013) (court declining to scrutinize “blanket [evidentiary] objections without analysis
14   applied to specific items of evidence”).
15           Because defendant has not considered the specific items of evidence the
16   government plans to introduce at trial, his motion is premature, overbroad, and baseless.
17   In short, the Court should reject defendant’s motion.
18   II.   ARGUMENT
19         A.     Defendant’s Moton Is Premature, Overbroad, and Baseless
20         At trial, the government plans to introduce various text messages, emails, and
21   other records into evidence. Before seeking to admit each item into evidence, the
22   government will establish (absent a stipulation): (1) that the item is relevant— i.e., that it
23   has “any tendency” to make a “fact of consequence” in determining the action “more or
24   less probable than it would be without the evidence,” see Fed. R. Evid. 401; (2) that it is
25   authentic— i.e., that the item of evidence “is what the [government] claims it is,” see
26   Fed. R. Evid. 901; and (3) that it is either not hearsay, for example, because the item
27   constitutes defendant’s statements, see Fed. R. Evid. 801(d)(2)(A), or is not being
28   offered for the truth, see Fed. R. Evid. 801(c)(2), or that it falls within an exception to
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     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 5 of 10 Page ID #:1452



1    the hearsay rule. See Fed. R. Evid. 803; see generally United States v. Morel-Pineda,
2    829 F. App’x 187, 191 (9th Cir. 2020) (citing Fed. R. Evid. 801(d)(2)(A), 901(a); “an
3    agent testified that the number in the messages was the one Meyers used to communicate
4    with [defendant], and a phone with that number was found upon searching [defendant’s]
5    apartment. This suffices to authenticate texts on that phone as sent by [defendant].”);
6    United States v. Torres, 742 F. App’x 244, 245 (9th Cir. 2018) (“The text messages . . .
7    qualify as statements of a party opponent.”); United States v. Acosta-Licerio, No.
8    R1600478021TUCJGZLAB, 2018 WL 9986799, at *2 (D. Ariz. Feb. 21, 2018) (“The
9    text messages were . . . admissible as an opposing party statement [under] Fed. R. Evid.
10   801(d)(2)(A), and co-conspirator statements [under] Fed. R. Evid. 801(d)(2)(E).”);
11   United States v. Dashner, No. 12-CR-00646-SI-1, 2015 WL 3660331, at *5 (N.D. Cal.
12   June 2, 2015) (“Emails sent by defendant to the IRS . . ., emails sent to the . . .
13   undercover agent . . ., and emails sent by defendant to [certain clients] when offered
14   against defendant are not hearsay.”)
15         Consistent with the Court’s Criminal Standing Order (Dkt. No. 8), the
16   government’s exhibit list is to be provided at least twelve days before trial. (See id. at 5-
17   6.) At that point, defendant can identify any text messages, emails, or other records he
18   believes are inadmissible, and the parties can meet and confer regarding that evidence
19   and attempt to resolve the issue before trial. Until then, defendant’s contention that any
20   and all text messages, emails, or other records the government seeks to introduce are
21   “irrelevant, substantially more prejudicial than probative, and hearsay,” (see Mot. at 1),
22   is overbroad and baseless, and should be rejected by the Court.
23         B.     The Government Does Not Intend to Introduce the Two Sets of Text
                  Messages Identified in Defendant’s Motion in its Case-In-Chief
24
           Though defendant’s motion seeks to exclude all text messages, emails, and other
25
     records at trial, without consideration of each specific item of evidence, he does identify
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     two specific sets of text message communications he claims are inadmissible. The first
27
     is a January 10, 2017 text exchange between Toufic Baaklini and Andrew Doran. The
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     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 6 of 10 Page ID #:1453



1    second is a March 28, 2017 text message thread between defendant and Baaklini, and
2    between Baaklini and Doran. At this point, the government does not plan to introduce
3    the January 10 or March 28, 2017 text message exchange between Baaklini and Doran,
4    rendering this aspect of defendant’s motion moot. 1
5          To the extent the government does seek to admit the March 28, 2017 text message
6    thread, it is direct evidence of defendant’s close personal and professional relationship
7    with Baaklini—the same person who arranged for Individual H to host a fundraiser for
8    defendant, and the person Individual H identified to defendant as having funneled
9    $30,000 of illegal foreign money to defendant’s campaign. This evidence is relevant
10   because it tends to show both defendant’s ease of access to Baaklini (and that defendant
11   could have inquired with Baaklini about his call with Individual H), and defendant’s
12   motive to conceal and falsify his knowledge that his close friend, Baaklini, routed illegal
13   contributions to his campaign. In that regard, defendant misses the mark in complaining
14   that these communications were not noticed under Rule 404(b) because the government
15   does not seek to introduce these communications to prove other crimes or bad acts. The
16   admission of these text messages do not run afoul of the hearsay rule: they are
17   admissible as the statement of a party-opponent and the import is that the messages
18   highlight the type of close relationship dynamic defendant had with Baaklini. And the
19   messages will be properly authenticated, either by an agent because the text messages
20   were seized from Baaklini’s phone via a proper search warrant or by Baaklini himself,
21   who is on the text message thread. 2
22         Defendant’s motion also references an FBI report that states phone records show
23   contact between Fortenberry, Baaklini, Fortenberry’s staffer, and Fortenberry’s
24   fundraising consultant after the government interviewed Baaklini regarding illegal
25   contributions in February 2017, (see Mot. at 1-2), but defendant does not identify any
26
27         1
            The government does not concede that these text messages are inadmissible.
28         2
            The foregoing analysis on just one text message thread highlights the importance
     of conducting an item-by-item analysis to resolve evidentiary disputes.
                                                  3
     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 7 of 10 Page ID #:1454



1    specific communications or evidence he believes should be excluded. Again, once the
2    government produces an exhibit list to defendant, he can identify any specific
3    communications falling within this category that he thinks are inadmissible (to the extent
4    the government seeks to introduce such evidence), and the parties can meet and confer
5    regarding those items of evidence.
6    III.   CONCLUSION
7           The Court should deny defendant’s motion.
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     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 8 of 10 Page ID #:1455



 1          REP. FORTENBERRY’S REPLY TO GOVERNMENT’S OPPOSITION
 2          1. The government should not benefit from violating the Criminal Standing Order
 3             by refusing to identify its exhibits to the defense.
 4          The government objects that the defense’s motion is “premature” because the defense
 5   “has not considered the specific items of evidence the government plans to introduce at trial.”
 6   Opp’n at 1. This overlooks that considering those specific items was impossible because the
 7   government hasn’t identified them, in violation of the Criminal Standing Order. In particular,
 8   the Criminal Standing Order (“CSO”), Dkt. No. 8 at § F, and subsequent Order Continuing
 9   Trial Date, Dkt. No. 23 at 2 (“The final pretrial conference hearing is continued to February 8,
10 2022, at 8:00 a.m.” and “the parties should not expect a further continuance”), set the
11 deadline for the government to identify its exhibits five days before the pretrial conference,
12 which was set for February 8, 2022. Thus, the government’s deadline to identify its exhibits
13 was February 3, 2022.
14          This did not change with the district’s temporary suspension of jury trials. The
15 government agreed with this proposition at the status conference of January 25, 2022, which
16 took place after the district’s trial suspension. AUSA Mack Jenkins stated there: “the parties
17 also currently agreed to act as if—that all current deadlines continue . . . to essentially put
18 ourselves in the position to be prepared to try the case wherever it is as soon as possible.”
19 Rptr.’s Tr. of Status Conf., Jan. 25, 2022, at 11:9–16 (emphasis added).
20          The Court may enforce its pretrial deadlines; see United States v. W.R. Grace, 526 F.3d
21 499, 508–11 (9th Cir. 2008) (en banc); Fed. R. Crim. P. 16(d)(2); and the parties’ agreement
22 here only reinforces the fairness of doing so. At a minimum, the Court should order the
23 government to identify its exhibits forthwith and give the defense the opportunity to file further
24 motions in limine on a truncated briefing schedule to exclude such evidence.
25          2. Government-offered evidence of early 2017 communications should be
26             precluded for failure to identify the evidence or specify a theory of admissibility.
27          The defense motion prompted the government to state that it does not plan to introduce
28 the January 10 or March 28, 2017, text messages between Baaklini and Doran, though the
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                HON. JEFFREY FORTENBERRY’S REPLY RE MOTION IN LIMINE NO. 6
              TO EXCLUDE EVIDENCE OF IRRELEVANT AND UNFAIRLY PREJUDICIAL
                              TEXTS, PHONE CALLS, AND EMAILS
     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 9 of 10 Page ID #:1456



 1 government says it does not concede their inadmissibility. Opp’n at 2–3. Similarly, the
 2 government acknowledges the discovery regarding evidence of phone communications in early
 3 2017 but does not state whether it intends to offer this evidence. Opp’n at 3–4. In any event,
 4 the government provides no grounds for admitting any of this evidence.
 5         3. March 28, 2017, text message thread.
 6         As to some of the March 28, 2017, text messages, a separate discussion is necessary,
 7 because the government did at least explain that it may seek to admit these messages, offering
 8 two theories of relevance. See Opp’n at 3, lines 5–21. (The government calls these messages a
 9 “thread,” but there are actually only two messages in question for which the government offers
10 any justification—one is an apparent message from Fortenberry to Baaklini, and the other is
11 an apparent message from Baaklini to Fortenberry. See Mot. at 1; Opp’n at 3 (referring to
12 evidence of defendant’s relationship, but only the first two messages involved Fortenberry).)
13         The government’s theories of relevance are “access to Baaklini” and “motive to conceal
14 and falsify [alleged] knowledge that his close friend, Baaklini, routed illegal contributions to
15 his campaign.” Opp’n at 3. Consider each theory in turn. First, while the messages do tend to
16 show access, they also invite prejudicial speculation concerning the topic of the planned
17 meaning. That speculation is unresolvable and therefore confuses the issues and misleads the
18 jury to wonder about a tangential issue, increasing the danger of a conviction that is not based
19 on rational consideration of the admissible evidence alone. There is also no need for these
20 messages as evidence of “access” because the government will call Baaklini as a witness, who
21 can explain his relationship to Fortenberry and ability to communicate with Fortenberry in a
22 manner that does not invite this prejudicial distraction. For these reasons, the dangers under
23 Federal Rule of Evidence 403 substantially outweigh the minimal probative value, particularly
24 once discounted for the availability of other evidence on the same point (Baaklini’s testimony)
25 that does not implicate those 403 dangers. See Old Chief v. United States, 519 U.S. 172, 183–
26 85 (1997) (calling for discounting the probative value of evidence objected to under Rule
27 403 in light of the availability of “less risky alternative proof going to the same point”).
28         The government’s second theory of relevance raises similar problems. Not least
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                HON. JEFFREY FORTENBERRY’S REPLY RE MOTION IN LIMINE NO. 6
              TO EXCLUDE EVIDENCE OF IRRELEVANT AND UNFAIRLY PREJUDICIAL
                              TEXTS, PHONE CALLS, AND EMAILS
     Case 2:21-cr-00491-SB Document 101 Filed 02/03/22 Page 10 of 10 Page ID #:1457



1 among them is the fact that the messages simply don’t have any tendency to show a “close”
2 friendship. And without the friendship being extremely close, the motive theory falls apart.
3 No member of Congress would plausibly commit a felony to help a mere acquaintance or
4 even a somewhat loosely connected friend. Moreover, again, Old Chief calls for discounting
5 any probative value for the availability of other less risky evidence on the same point.
6 Baaklini’s testimony can explain the nature of his relationship with Fortenberry without
7 creating a near-irresistible urge for jurors to wonder what the meeting alluded to in these
8 messages was all about and/or why that question will not be answered by the evidence.
9 Thus, these text messages should be excluded under Federal Rule of Evidence 403.
10
                                             Respectfully submitted,
11
12    Dated: February 3, 2022                BIENERT KATZMAN
                                             LITTRELL WILLIAMS LLP
13
14                                           ____________________________________
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                                             3
                HON. JEFFREY FORTENBERRY’S REPLY RE MOTION IN LIMINE NO. 6
              TO EXCLUDE EVIDENCE OF IRRELEVANT AND UNFAIRLY PREJUDICIAL
                              TEXTS, PHONE CALLS, AND EMAILS
